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                                                  74691

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                                                     August 22, 2022                                   SINGAPORE
                                                                                                          TOKYO
                                                                                                        TORONTO



       VIA ECF

           The Hon. Robert B. Kugler                   Special Master the Hon. Thomas
           United States District Judge                Vanaskie
           USDJ, District of New Jersey                Stevens & Lee
           Mitchell H. Cohen Building & U.S.           1500 Market Street, East Tower, 18th
           Courthouse                                  Floor
           4th & Cooper Streets, Room 1050             Philadelphia, PA 19103
           Camden, NJ 08101

       RE: In re Valsartan, Losartan, and Irbesartan Products Liability Litigation, No. 1:19-md-2875-
       RBK-KMW (D.N.J.)

       Dear Judge Kugler and Judge Vanaskie:

               I write on behalf of the Defendants’ Executive Committee to provide Defendants’ position
       with respect to the agenda topics for the conference with the Court on August 24, 2022. Defendants
       do not expect the need to discuss any confidential materials as part of these agenda items, but
       reserve the right to move to a confidential setting should the need arise.

                1. Defendants’ Position Regarding Proposed Third-Party Payor (“TPP”) Trial

               Plaintiffs and Defendants have met and conferred several times regarding the scope of the
       2023 single-plaintiff TPP trial and related fact and expert discovery. Defendants’ positions on this
       issue are set forth below.

              Identity of Plaintiffs and Defendants in TPP trial. The parties are in agreement that the
       Court’s proposed 2023 TPP trial should focus on the claims of a single assignor of Plaintiff MSP
       Recovery Claims, Series, LLC (“MSPRC”). Defendants will be prepared to discuss their proposals
       with respect to which defendants among ZHP, Teva and Torrent should be in that trial more fully
       on Wednesday. Identifying the specific MSPRC assignor whose claims will be tried will assist
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  with that discussion. Of course, Defendants not participating in the first trial would not be subject
  to any of the deadlines in the CMO.

           Despite the Court’s clear instructions and intent, Plaintiffs continue to argue that the trial
  should be “on behalf of a certified class, subclass, or part thereof as determined by the Court.”
  (Email from Adam Slater to Greg Ostfeld (“Slater Email”), Aug. 20, 2022 (Ex. 1).) Plaintiffs’
  continued insistence on class treatment is directly contrary to the Court’s repeated admonitions.
  As the Court well knows, it has repeatedly made clear that it intends to hold an individual TPP
  trial, and it instructed the parties to meet and confer in accordance with that expectation. See, e.g.,
  July 28, 2022 CMC Hr’g Tr. 27:11 (“I still believe we’re going to go through with the TPP
  individual trial first. That will be the first trial.”) (emphasis added); id. 20:13-17 (“the best way to
  proceed to the first trial is a single TPP plaintiff, which implicates, you know, only maybe a few
  states’ laws and things of that nature.”). Defendants have also pointed out to plaintiffs that any
  ruling regarding class certification would likely be the subject of a petition to appeal under Rule
  23(f) and thus incompatible with the Court’s envisioned trial schedule.

          Status of Claims Not Tried in TPP Trial. Plaintiffs have also proposed claims-splitting.
  Defendants do not agree to split Plaintiffs’ claims. If Plaintiffs wish to proceed only on their
  breach-of-warranty, consumer-protection and punitive-damages claims, then their remaining
  claims against Defendants should be dismissed with prejudice. See Strader v. U.S. Bank, No. 2:19-
  cv-118-NR, 2020 WL 3447776, at *3 (W.D. Pa. June 24, 2020) (dismissing claims against
  defendants because they “have been improperly split from” another pending case before the court;
  “The longstanding rule against improper claim splitting prohibits a plaintiff from prosecuting his
  case piecemeal and requires that all claims arising out of a single alleged wrong be presented in
  one action.”) (internal quotation marks and citation omitted); see also Beedle v. Wilson, No. CIV-
  06-122-M, 2006 WL 1702502, at *3 (W.D. Okla. June 14, 2006) (“There is no reason why a court
  should be bothered or a litigant harassed with duplicating lawsuits on the same docket; it is enough
  if one complete adjudication of the controversy be had.”) (internal quotation marks and citation
  omitted) (emphasis added). If those latter claims are not dismissed, all of the claims should be tried
  together.

          Plaintiffs’ Proposed Order or Stipulation Preserving the Adequacy of TPP Plaintiff in
  Class Trial. Plaintiffs requested in the parties’ most recent correspondence that, “[i]n the event the
  Court is inclined to proceed pre-class certification . . . Plaintiffs will . . . request entry of an Order
  or Stipulation preserving the adequacy of the TPP plaintiff to later serve as a class representative.”
  (Slater Email.) This request is improper for multiple reasons. As already discussed, the Court has
  not issued any ruling certifying a proposed TPP class. Accordingly, it would not only be premature
  to assess the adequacy of MSPRC to represent countless other TPPs, but doing so would be
  tantamount to issuing an advisory opinion. Moreover, as elaborated in Defendants’ class-
  certification briefing, MSPRC is neither a typical nor adequate class representative because it will
  be subject to unique defenses, including the following: (1) the claims it asserts were assigned to it
  by other TPPs, and the validity of the assignments is subject to dispute; and (2) its serial litigation
  against insurers in other cases gives rise to a clear conflict of interest.
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          Application of Rulings, Findings and Judgment. Plaintiffs have also indicated that they
  will request that Defendants stipulate that any “rulings, findings, and Judgment” entered in an
  individual TPP trial case are fully applicable in a “later certified class or subclass.” (See Slater
  Email.) This categorical request is improper on multiple levels. For starters, because no class has
  been certified, it would be grossly premature to address what (if any) impact rulings, findings and
  judgment issued in an individual TPP trial case would have in a later certified class proceeding, if
  the Court certified a class and its ruling were upheld by the Third Circuit. This is all the more true
  because the TPP trial will be limited to a select defendant or defendants and have no relevance to
  any claims against other defendants.

          Plaintiffs’ Request for Sequencing of Trials. Plaintiffs indicated in their most recent
  correspondence that they will ask the Court to “enter an order providing for a sequence of trials to
  follow the first trial, on behalf of certified class/subclass/or portions thereof, adjudicating the
  economic loss claims of TPPs/consumer plaintiffs against the remaining manufacturers, thus
  addressing claims related to the Hetero, Mylan, and Aurobindo API.” (Slater Email.) Again,
  Defendants believe that this request is inconsistent with the Court’s clear directives. The Court has
  repeatedly indicated its preference for conducting a single TPP trial; it has never suggested that
  such a proceeding would ultimately lead to follow-on trials. Nor have Plaintiffs ever raised this
  “sequencing” concept during the parties’ numerous meet and confers. And sequencing of trials
  “on behalf of certified class/subclass/or portions thereof” would be all the more improper because
  there has been no certification ruling.

         Further, without specifying which “TPPs/consumers” would be involved in these
  hypothetical trials, there may be issues related to subject matter jurisdiction, personal jurisdiction,
  and venue that would be implicated by trials against Mylan, Hetero, and/or Aurobindo.
  Accordingly, these Defendants object to Plaintiffs’ proposal and reserve all rights.

          Discovery. Defendants are agreeable to extending the current case management deadlines,
  but believe that more time is also needed to allow Defendants time to conduct additional fact
  discovery of the at-issue MSPRC assignor. Plaintiffs have taken the position that all fact discovery
  in the MDL is closed. While this is undoubtedly true with respect to the Valsartan defendants—
  who were subject to all-encompassing, multi-year merits discovery concerning issues ranging from
  alleged liability to damages—the same cannot be said for Plaintiffs, including MSPRC. Rather,
  discovery as to the proposed class representatives, including MSPRC, was generally limited to
  class certification issues. This effort to deprive Defendants of the ability to work up their case
  would be nothing less than a denial of due process.

          By way of background, there have now been three phases of fact discovery in the MDL.
  The first phase, which ended on June 21, 2021, related to document and deposition discovery of
  the manufacturer defendants, depositions of economic loss and medical monitoring putative class
  Representatives, and depositions of at least ten personal injury bellwether plaintiffs. See CMO 28,
  ECF No. 863. The second phase of fact discovery ended on October 4, 2021 and included
  depositions of the remainder of the 28 personal injury bellwether plaintiffs, depositions of initial
  treaters and providers agreed to by the parties, and document and deposition discovery of the
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  wholesaler and pharmacy defendants. Id. Nothing in CMO 28 indicated that there would be no
  further phases of discovery, and Plaintiffs have sought and been granted additional discovery of
  the manufacturer defendants related to the Losartan and Irbesartan cases. See Core Discovery
  Order, CMO ECF No. 2132. Thus, Plaintiffs’ position that all fact discovery in the MDL
  proceeding is complete is inconsistent with the record.

          The limited discovery that Defendants were permitted to take as to the TPP class
  representatives is not sufficient to prepare these cases for trial. With respect to document discovery,
  the parties entered into a stipulation in December 2020 that limited the scope of Rule 34 requests
  to the TPP class representatives to issues that pertained directly to class certification. See ECF No.
  650. Recognizing that additional TPP discovery would be needed in advance of any trial,
  Defendants served supplemental Rule 34 requests on Plaintiffs on July 19, 2022 and asked
  Plaintiffs to meet and confer regarding the scope of the same. See Letter from Clem Trischler to
  Adam Slater, July 19, 2022 (Ex. 2). Rather than engage in meaningful meet and confer, Plaintiffs
  categorically rejected that additional discovery was permitted or necessary. See Letter from Ruben
  Honik to Clem Trischler, July 26, 2022 (Ex. 3). While Defendants have no intention to take
  duplicative discovery of Plaintiffs, there are discrete categories of information that have not yet
  been produced by MSPRC’s assignors and are necessary for trial. This includes information
  regarding: (1) prescription claims data and medical costs; (2) post-sale adjustments to prices paid
  for prescriptions; (3) medical costs associated with hypertension, heart failure, and post-
  myocardial infarction; (4) diagnosis codes associated with dispensed prescriptions; (5) Medicare
  reimbursement data; (6) pharmacy benefit manger (“PBM”) and TPP contracts, member
  communication and plan design documents; (7) TPP agreements with other pharmaceutical
  entities; and (8) Pharmacy and Therapeutics Committee (“P&T Committee”) minutes and
  decisions.

          Likewise, while Plaintiffs note that Defendants have already taken 30(b)(6) depositions of
  MSPRC, Defendants are entitled to fact witness depositions as well. See, e.g., Seavey v. Globus
  Med. Inc., No. 11-2240 (RBK/JS), 2012 WL 12902792 (D.N.J. Dec. 14, 2012) (holding that
  plaintiffs were entitled to depose witness in individual capacity notwithstanding overlap with prior
  30(b)(6) deposition; “Just as plaintiffs may not dictate to defendant how it must take its discovery,
  defendant may not dictate to plaintiffs that they must take relevant testimony from a Rule 30(b)(6)
  witness rather than Giordano.”); Sonrai Sys., LLC v. Romano, No. 16 CV 3371, 2019 WL
  11704216, at *2 (N.D. Ill. Apr. 25, 2019) (requiring fact witness depositions to proceed after Rule
  30(b)(6) deposition). For example, Defendants must be allowed to depose the relevant PBMs, who
  administered the assignor’s prescription claims and one or more P&T Committee members who
  were involved in creating the formularies employed by MSPRC’s assignor, and other individuals
  who may have knowledge about the reimbursements that MSPRC’s assignor received from the
  federal government or other sources to offset money they spent covering Defendants’ valsartan.
  Additional depositions may also be required once MSPRC’s document production is complete to
  address issues raised by new documents.
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     2. The Parties’ Position and Proposal Regarding Motion to Seal

          The parties have been reviewing the confidentiality designations for materials submitted in
  connection with the class certification briefing and Rule 702 motions, which amounted to hundreds
  of documents filed with some level of confidentiality designation. As confirmed by the Court on
  the record at the June 29, 2022 Case Management Conference, the deadline for the parties to submit
  the motion to seal with respect to the class certification briefing and Rule 702 class certification
  expert briefing was to be extended until 60 days from completion of the parties’ meet and confer
  on the motion to seal, which occurred on July 15, 2022. Accordingly, the current deadline for the
  parties to file their motion to seal is September 13, 2022.

          The parties have already made significant progress, and have identified categories of
  documents that were previously treated as confidential but that the parties have now agreed should
  either be filed publicly and/or filed with appropriate redactions. The parties intend to file such
  amended exhibits on the public docket in the interest of public access. The parties continue to work
  cooperatively to identify the materials for which the parties agree on the confidential status and
  which materials remain in dispute.

          The parties propose that in the interest of efficiency, their submission to the Court address
  only materials for which the confidential status remains in dispute in lieu of submitting an index
  of all documents as contemplated by Local Civil Rule 5.3(c). The parties believe that this proposal
  serves the interests of judicial economy by permitting the Court and the parties to focus their
  resources on the disputed materials. The parties’ proposal also accounts for the public’s interest in
  disclosure, as any materials that the parties have agreed should remain confidential have already
  been subjected to adversarial review.

          Given the high volume of materials that require individualized review and the ongoing
  negotiations between the parties, additional time may be necessary in which the parties can
  complete their negotiations and prepare the amended exhibits for the public docket. Accordingly,
  the parties propose that they confer by September 13, 2022, to assess the status of negotiations and
  the scope of disputed materials, and determine subsequent deadlines for their submission based on
  the volume of disputed materials that remain. The parties would then submit an agreed-upon
  proposed schedule to the Court for the submission and filing of amended exhibits.

     3. PFS Deficiency Issues

  Cases Addressed at the July 28, 2022 Case Management Conference:

        The Court issued 10 show cause orders returnable at the August 24, 2022 Case
  Management Conference:

     1. Donna King v. Doe et al. – 20-cv-8814
     2. Margaret Tolley v. Mylan Laboratories et al. – 21-cv-10130
     3. Katherine Peyton v. Mylan et al. – 21-cv-09063
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       4. Michael Shemes v. Aurobindo et al. – 21-cv-20204
       5. Leona Branch v. Mylan, et al. – 22-cv-582
       6. Richard Vindigni v. Prinston, et al. – 21-cv-2361
       7. Robert Cooper v. ZHP, et al. – 22-cv-1635
       8. Robert Dais v. Mylan, et al. – 22-cv-518
       9. Elie Greene v. Aurobindo, et al. – 21-cv-3214
       10. Majorie Smith v. Camber, et al. – 21-cv-12740

         The issues in the Cooper and Peyton matters are resolved, and the show cause orders may
  be withdrawn.

          The issues in the Greene, Vindigni, and Tolley matters remain unresolved, but the parties
  are working towards a resolution and request a one-month extension of the order to show cause
  until the September Case Management Conference.

        The issues in the King, Shemes, Branch, Dais, and Smith matters remain unresolved, and
  Defendants request their dismissals.

  Second Listing Cases – Order to Show Cause Requested:

          Pursuant to CMO-16, the Plaintiff Fact Sheets in the below cases are substantially
  incomplete and contain core deficiencies. Each of these cases was previously listed on the agenda
  for a prior CMC. This list was provided to Plaintiffs’ leadership on August 18, 2022, and a global
  meet and confer was held on August 22, 2022. Defendants have also been available for further
  discussion as needed. Accordingly, Defendants request that an Order to Show Cause be entered in
  each of these cases, returnable at the next case management conference, as to why these cases
  should not be dismissed.

          Defense counsel will be prepared to address the individual issues with respect to each of
  these cases, to the extent necessary, during the August 24, 2022 Case Management Conference:


                Plaintiff         Civil Action        Law Firm          Deficiencies         Deficiency
                                      No.                                                      Sent

  1.     Debra Stiles v. ZHP et   22-cv-01987      Pittman, Dutton, Missing medical        6/22/22
                   al.                                 Hellums,          expenses
                                                      Bradley &
                                                      Mann P.C.
  2.         E.O. Nancy             22-cv-38          Oliver Law    XI.A.1 – The           5/12/22
         Mastbergen v. Hetero                         Group P.C.    following
          Drugs, Ltd., et al.                                       providers were
                                                                    identified in the
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              Plaintiff        Civil Action      Law Firm       Deficiencies        Deficiency
                                   No.                                                Sent

                                                              Second Amended
                                                              PFS: Advanced
                                                              Radiology
                                                              Services PC;
                                                              Coran Alternate
                                                              Site Services Inc.;
                                                              Visiting Nurse
                                                              Services of
                                                              Western
                                                              Michigan; Cancer
                                                              and Hematology
                                                              Centers of
                                                              Western
                                                              Michigan PC;
                                                              Allcare Plus
                                                              Pharmacy Inc.;
                                                              Michigan
                                                              Pathology
                                                              Specialists; West
                                                              Michigan
                                                              Anesthesia PC;
                                                              Ees Western
                                                              Michigan PC;
                                                              Life Ems Inc.;
                                                              and Veracyte Inc.
                                                              Please produce
                                                              properly executed
                                                              and undated
                                                              authorizations for
                                                              each of the
                                                              foregoing health
                                                              care providers
                                                              and treatment
                                                              facilities.

                                                                XI.B.18 – An
                                                                explanation of
                                                                 benefits was
                                                              produced, but still
                                                              no billing records
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              Plaintiff          Civil Action     Law Firm         Deficiencies        Deficiency
                                     No.                                                 Sent

                                                                  were produced
                                                                    form the
                                                                    providers
                                                                   themselves

  3.    Jim Smith v. ZHP, et     22-cv-01245      Hollis Law     No PFS Filed         PFS Due -
                al.                                                                   7/2/22

  4.      Frank Trimboli v.      20-cv-01601     Carlson Law     No PFS Filed         PFS Due -
            Torrent, et al.                                                           7/4/22

  5.   Walid Elganam v. ZHP      22-cv-02873     Carlson Law     No PFS Filed         PFS Due -
               et al.                                Firm                             7/17/22

  6.    Richard Williams v.      20-cv-20602     Alvin Pittman   No PFS Filed         PFS Due -
            ZHP et al.                                                                7/27/22

  7.   Eric Thompson v. ZHP      21-cv-19973        Levin        Largely deficient    7/13/22
               et al.                             Papantonio     PFS, including no
                                                                 signed
                                                                 declaration, no
                                                                 authorizations, no
                                                                 medical expense
                                                                 records

  8.    Judith Ross v. ZHP et    22-cv-02387        Levin        Missing medical      7/18/22
                 al.                              Papantonio     expense records

  9.      E.O. Christopher       22-cv-00930     Stark & Stark   IV.C.1-IV.C.3 –      5/1/22
         Gallagher, et al. v.                                    Failed to provide
        Hetero Drugs, Ltd., et                                   the end date for
                 al.                                             usage of
                                                                 Walgreens for
                                                                 Plaintiff’s
                                                                 prescriptions in
                                                                 the Seventh
                                                                 Amended PFS.
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              Plaintiff        Civil Action      Law Firm       Deficiencies        Deficiency
                                   No.                                                Sent

                                                              XI.A.1 – The
                                                              produced
                                                              authorizations are
                                                              dated. Please
                                                              produce properly
                                                              executed and
                                                              undated
                                                              authorizations for
                                                              each identified
                                                              provider,
                                                              treatment facility,
                                                              and pharmacy.
                                                              Also, no health
                                                              care
                                                              authorizations
                                                              were produced
                                                              for: Vitas
                                                              Nazareth
                                                              Hospital; Alliance
                                                              Cancer Center;
                                                              Newtown
                                                              Ambulance; St.
                                                              Claire Pharmacy;
                                                              or Walgreens.

                                                              XI.A.2 – No tax
                                                              returns
                                                              authorizations
                                                              were produced.

                                                              XI.B.2 – No
                                                              Walgreens
                                                              pharmacy or St.
                                                              Clare Pharmacy
                                                              records produced.

                                                              XI.B.18 – Still no
                                                              billing records
                                                              were produced
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              Plaintiff          Civil Action      Law Firm          Deficiencies        Deficiency
                                     No.                                                   Sent

                                                                   with the Seventh
                                                                   Amended PFS.

  10.      Kerry Jackson,        22-cv-00154     Hollis Law Firm I.E.4 – Failed to      5/11/2022
        Individually and o/b/o                                   identify the state,
        E.O. Janice Jackson v.                                   court, and case
        Hetero Drugs, Ltd., et                                   number in
                  al.                                            connection with
                                                                 the answering
                                                                 Plaintiff’s
                                                                 authority to act as
                                                                 a representative
                                                                 on behalf of the
                                                                 deceased
                                                                 Plaintiff. Also,
                                                                 failed to produce
                                                                 supporting
                                                                 documentation
                                                                 demonstrating
                                                                 appointment of
                                                                 answering
                                                                 Plaintiff’s
                                                                 authority to act as
                                                                 a representative
                                                                 on behalf of the
                                                                 deceased
                                                                 Plaintiff.

                                                                   XI.B.18 – No
                                                                   corresponding
                                                                   billing record
                                                                   produced for the
                                                                   identified claimed
                                                                   medical expense
                                                                   with a date of
                                                                   service from
                                                                   5/10/2017.

                                                                   XII – No
                                                                   declaration
                                                                   produced with the
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               Plaintiff           Civil Action        Law Firm            Deficiencies         Deficiency
                                       No.                                                        Sent

                                                                        Third Amended
                                                                        PFS.



  First Listing Cases – Remaining Core Deficiencies:

          The following Plaintiff Fact Sheets contain core deficiencies which remain unresolved.
  This list was provided to Plaintiff leadership on August 18, 2022, and a global meet and confer
  was held on August 22, 2022. Defendants have also been available for further discussion as needed.
  This is the first time these cases have been listed on this agenda. Accordingly, Defendants are not
  requesting orders to show cause with respect to any of the below cases at this time and will continue
  to meet and confer to resolve these deficiencies.


                Plaintiff           Civil Action       Law Firm            Deficiencies         Deficiency
                                        No.                                                       Sent

   1.   Benita King v. ZHP et       22-cv-1628           Levin            Need medical         7/18/22
                  al                                   Papantonio           expenses

   2.      Estate of Charles        22-cv-4330         Parafinczuk           Multiple          8/2/22
             Bernhardt v.                              Wolf, P.A.       deficiencies; need
           Walgreens, et al.                                              authorizations

   3.       Francesco Poma,         22-cv-01118        Hollis Law       III.G.c – Failed to    5/26/22
         Individually and o/b/o                        Firm, P.A.           provide any
          E.O. Giuseppa Poma                                                substantive
         v. Hetero Drugs, Ltd.,                                        response regarding
                 et al.                                                    the monetary
                                                                          amount for the
                                                                       identified claimed
                                                                        medical expense.

                                                                          XI.B.2 – No
                                                                        pharmacy records
                                                                          produced for:
                                                                           Sam’s Club
                                                                          Pharmacy; or
                                                                           Walgreens
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              Plaintiff          Civil Action    Law Firm        Deficiencies        Deficiency
                                     No.                                               Sent

                                                               Pharmacy. Also,
                                                              no medical records
                                                              were produced for
                                                                 the identifeid
                                                               physicians whom
                                                                   prescribed
                                                                  Valsartan to
                                                                Plaintiff, being:
                                                                 Dr. Pasquale
                                                                Laderosa; Paula
                                                               Leferman, NP; or
                                                                Nicole Adamic,
                                                                      PA.

                                                                XI.B.18 – No
                                                                billing records
                                                                   produced.

   4.    Henry Parker, Jr. v.    21-cv-19401       Levin      III.G.a-III.G.c –     2/18/22
        Hetero Drugs, Ltd., et                   Papantonio   Failed to provide
                 al.                                          any substantive
                                                              responses to the
                                                              request to identify
                                                              Plaintiff’s claimed
                                                              medical expenses,
                                                              including: the
                                                              name of the
                                                              healthcare
                                                              provider for each
                                                              claimed medical
                                                              expense; and the
                                                              monetary amount
                                                              of each claimed
                                                              medical expense.

                                                                XI.B.18 – No
                                                                billing records
                                                                   produced.
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                                      No.                                           Sent

   5.      Carrie Collins v.      19-cv-16386/   Haffner Law   No PFS Filed      PFS Due -
         Aurobindo Pharma, et     19-cv-16387        PC                          7/27/22
                  al.
   6.    Maritza Hernandez v.     22-cv-3288       Levin       No PFS Filed      PFS Due -
           Aurobindo et al                       Papantonio                      7/31/22

   7.    Jacqueline Wallaert v.   22-cv-1526     Nabers Law    No PFS Filed      PFS Due -
            Aurobindo, et al                                                     8/1/22

   8.       Robert Lewis v.       22-cv-2524     Nabers Law    No PFS Filed      PFS Due -
            Aurobindo et al                                                      8/1/22

   9.      Robert Bailey v.       22-cv-1518     Nabers Law    No PFS Filed      PFS Due -
             Mylan et al                                                         8/1/22

   10.     Thomas Amoia v.        22-cv-2438     Nabers Law    No PFS Filed      PFS Due -
             Mylan et al                                                         8/1/22

   11.     Robert Parker v.       22-cv-2419     Nabers Law    No PFS Filed      PFS Due -
            Hetero, et al                                                        8/1/22

   12.    Estate of Clifford      22-cv-3323     Nabers Law    No PFS Filed      PFS Due -
         Conley v. Aurobindo                                                     8/2/22
                 et al
   13.   Gracie Ellis v. ZHP et   22-cv-3382     Nabers Law    No PFS Filed      PFS Due -
                   al                                                            8/2/22

   14.     Willie Quarles v.      22-cv-3385     Nabers Law    No PFS Filed      PFS Due -
           Aurobindo et al                                                       8/2/22

   15.      Mona Clark v.         22-cv-3392     Nabers Law    No PFS Filed      PFS Due -
            Aurobindo et al                                                      8/2/22
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               Plaintiff          Civil Action       Law Firm            Deficiencies     Deficiency
                                      No.                                                   Sent

   16.    Brian Thompson v.        22-cv-3438       Nabers Law      No PFS Filed         PFS Due -
           Aurobindo et al                                                               8/3/22

   17.     Renae Bishop v.         22-cv-3441       Nabers Law      No PFS Filed         PFS Due -
             Mylan et al                                                                 8/3/22

   18.   Candace King-Branch       22-cv-3856          Levin        No PFS Filed         PFS Due -
             v. ZHP et al                            Papantonio                          8/15/22

   19.    Vincent Shannon v.       22-cv-3870          Levin        No PFS Filed         PFS Due -
             Mylan et al                             Papantonio                          8/15/22

   20.   Larry Bass v. Hetero      22-cv-4151       Nabers Law      No PFS Filed         PFS Due -
                et al                                                                    8/20/22

   21.   Bobby Yount v. ZHP        22-cv-4155       Nabers Law      No PFS Filed         PFS Due -
                et al                                                                    8/20/22

   22.   Rose McCarty v. ZHP       22-cv-4164       Nabers Law      No PFS Filed         PFS Due -
                et al                                                                    8/21/22




                                               Respectfully Submitted,




                                               Jessica Davidson Miller

  cc: All counsel of record (via ECF)
